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                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION

GREGORY POWELL,                            ]
                                           ]
      Plaintiff,                           ]
                                           ]
v.                                         ]   CIVIL ACTION NO.
                                           ]   2:16-CV-01492-KOB
NATIONAL LABOR RELATIONS                   ]
BOARD,                                     ]
                                           ]
      Defendant.                           ]

                           MEMORANDUM OPINION

      This Merit Systems Protection Board administrative record review matter

comes before the court on the Defendant National Labor Relations Board’s and the

Plaintiff Gregory Powell’s cross-motions for summary judgment. (Doc. 26 and

Doc. 29, respectively).

      The NLRB terminated Mr. Powell because he lost confidential witness

statements, neglected to inform his supervisor of the loss, failed to follow his

supervisor’s instructions to document the matter, and attempted to deceive the

official who investigated the incident. Mr. Powell appealed his termination to the

MSPB, and the MSPB affirmed.

      In his amended complaint, Mr. Powell brings discrimination claims against

the NLRB and a claim for an MSPB administrative record review. The court

ordered briefing only on the administrative record review claim, which is the only

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claim currently before the court.

      In his motion for summary judgment, Mr. Powell urges this court to reverse

the MSPB’s decision because, according to Mr. Powell, the MSPB reached an

arbitrary and capricious decision not supported by substantial evidence because the

NLRB had no reason to terminate him.

      On the other hand, in its motion for summary judgment, the NLRB asks the

court to sustain the MSPB decision because, according to the NLRB, Mr. Powell

has not met his burden to show that the MSPB committed any reversible error in

finding that the NLRB proved the charges against Mr. Powell by a preponderance

of the evidence and assessed a reasonable penalty.

      The court will DENY Mr. Powell’s motion for summary judgment and

GRANT the NLRB’s motion for summary judgment. As further explained below,

substantial evidence supports the MSPB’s conclusion that the NLRB proved the

charges against Mr. Powell by a preponderance of the evidence, and the MSPB did

not reach an arbitrary and capricious decision because it correctly found that the

NLRB reasonably evaluated all relevant factors in deciding to terminate Mr.

Powell.

I.    STANDARD OF REVIEW

      Though the parties style their motions as motions for summary judgment,

they do not move the court to recognize the absence of any genuine dispute of


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material fact under Rule 56(a) of the Federal Rules of Civil Procedure. Instead,

they ask the court to review the MSPB decision sustaining the NLRB’s termination

of Mr. Powell, so the standard for judicial review of an MSPB decision, not the

Rule 56(a) standard of review, presently applies.

      The MSPB hears appeals from specified adverse employment actions taken

by federal agencies. 5 U.S.C. § 7701. The MSPB will sustain the agency’s

decision if a preponderance of the evidence supports it. 5 U.S.C. § 7701(c)(1)(B).

And the MSPB will reverse the agency’s decision if it finds “harmful error in the

application of the agency’s procedures in arriving at such decision”; “that the

decision was based on any prohibited personnel practice”; or “that the decision was

not in accordance with law.” 5 U.S.C. § 7701(c)(2).

      An aggrieved plaintiff may obtain judicial review of an MSPB decision. 5

U.S.C. § 7703(a)(1). As Mr. Powell did, if the plaintiff brought discrimination

claims and claims not based on discrimination—so-called “mixed” cases—before

the MSPB, then the plaintiff may seek review in district court. 5 U.S.C.

§ 7703(b)(2); see Kelliher v. Veneman, 313 F.3d 1270, 1274 (11th Cir. 2002). The

district court reviews the discrimination claims de novo. 5 U.S.C. § 7703(c). But

the court reviews non-discrimination claims “on the record,” and will set aside the

MSPB decision “only if the ‘agency action, finding or conclusion’ is found to be[]

‘(1) arbitrary, capricious, an abuse of discretion or otherwise not in accordance


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with law; (2) obtained without procedures required by law, rule, or regulation

having been followed; or (3) unsupported by substantial evidence.’” Kelliher, 313

F.3d at 1274 (quoting 5 U.S.C. § 7703(c)). The plaintiff bears the burden of

showing that the MSPB committed one of these reversible errors. Harris v. Dep’t

of Veterans Affairs, 142 F.3d 1463, 1467 (Fed. Cir. 1998).

      Here, because the parties have not moved for summary judgment on Mr.

Powell’s discrimination claims, the court will conduct an “on the record” review.

The record review standard is deferential. When determining whether the MSPB

reached an arbitrary and capricious decision, the court “do[es] not substitute [its

own] judgment for that of the agency but rather only seek[s] to ensure that the

decision was reasonable and rational.” Kelliher, 313 F.3d at 1276 (citing Zukas v.

Hinson, 124 F.3d 1407, 1409 (11th Cir. 1997)).

      The Eleventh Circuit has found that “‘[a]long the standard of review

continuum, the arbitrary and capricious standard gives an appellate court the least

latitude in finding grounds for reversal.’” Id. (quoting N. Buckhead Civic Ass’n v.

Skinner, 903 F.2d 1533, 1538 (11th Cir. 1990)). And the court “must only

‘consider whether the decision was based on a consideration of the relevant factors

and whether there has been a clear error in judgment.’” Id. (quoting Skinner, 903

F.2d at 1538).




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II.   BACKGROUND

      To comprehensively review the MSPB decision, the court must track the

events of Mr. Powell’s alleged misconduct, the NLRB’s investigation into that

misconduct, the NLRB’s proposed removal, the NLRB’s decision to remove, and

then the MSPB’s review of that decision.

      A.     The Hillshire Case Investigation and Affidavits

      Mr. Powell worked as a field attorney for the NLRB in the Birmingham,

Alabama Resident Office from 1997 until his termination on September 24, 2013.

As a field attorney, Mr. Powell investigated charges of unfair labor practices

brought against private employers. (Doc. 25-1 at 2; Doc. 25-24 at 239–40).

      On November 7, 2012, Mr. Powell travelled to Florence, Alabama to

investigate unfair labor practice charges against Hillshire Brands by taking

affidavits from potential witnesses. He remained in Florence until November 10,

2012. (Doc. 25-8 at 1, 21–22).

      While in Florence, Mr. Powell stayed at a Hampton Inn. Mr. Powell kept all

of his records, research, case law, draft affidavits, and predisposition statements in

a large red plastic tub. He met with witnesses and drafted affidavits in his hotel

room on a laptop computer. He often left documents laid out in his hotel room.

After he finished typing an affidavit, he saved the affidavit to a USB drive, took

the USB drive down to the Hampton Inn’s business center, printed the affidavit


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from one of the Hampton Inn’s computers, and had the witness sign the affidavit.

(Doc. 25-8 at 24–29, 34).

      On November 9, 2012, Hillshire’s attorney, Sandra Zubick, sent Mr. Powell

an email stating that a man who refused to identify himself delivered unsigned

affidavits to Hillshire’s facility in Florence that appeared to have been taken in

connection with Mr. Powell’s investigation. Ms. Zubick wrote in the email that the

man who delivered the affidavits claimed that he found them at a local hotel.

(Doc. 25-8 at 22, 194).

      On November 14, 2012, after Mr. Powell returned to the Birmingham office,

Mr. Powell sent Ms. Zubick a response email stating, “I find that a bit odd. But,

forward them to me. What is the young man’s name? Remember, if anyone from

[Hillshire] management reads them (or an agent thereof), there may be possible

violations of the [National Labor Relations Act].” (Doc. 25-8 at 194).

      Ms. Zubick sent the affidavits to Mr. Powell by mail. On November 15,

2012, three unsigned affidavits—one by Randy Hadley dated August 16, 2012, one

by Tanya Rowlett dated November 7, 2012, and one by Brandy Page dated

November 8, 2012—arrived on Mr. Powell’s desk in the Birmingham office.

(Doc. 25-8 at 197–208). Mr. Powell had interviewed Tanya Rowlett and Brandy

Page in Florence, and he prepared Randy Hadley’s affidavit before he traveled to

Florence. (Doc. 25-8 at 26, 41). Ms. Zubick informed Mr. Powell that the


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affidavits were clearly visible because the man who delivered the affidavits did not

deliver them in an envelope. (Doc. 25-8 at 195–96). Mr. Powell did not

immediately report the loss of the affidavits to any other members of NLRB.

(Doc. 25-8 at 30).

      The Resident Officer who supervised all investigations out of the

Birmingham office, Belinda Bennett, assigned the Hillshire case to an NLRB

attorney in Atlanta, Carla Wiley, to litigate. On February 8, 2013, Ms. Wiley sent

an email to her supervisor, Mary Bulls, stating that Hillshire’s attorney told her that

he saw the affidavits delivered to Hillshire in November 2012, and that based on

what Hillshire’s attorney saw in the affidavits, Hillshire was not concerned about

NLRB’s claims. Ms. Bulls then reported the incident to Ms. Bennett and the

Regional Director, Claude Harrell. (Doc. 25-8 at 283).

      Ms. Bennett called Mr. Powell to inquire about the affidavits. Mr. Powell

told Ms. Bennet that Ms. Zubick told him that Hillshire received the affidavits and

then mailed the affidavits back to him. (Doc. 25-8 at 30).

      On the morning of February 8, 2013, Ms. Bennett emailed Mr. Powell

telling him to prepare a memo detailing the circumstances of the affidavits. That

afternoon, Ms. Bennet emailed him again instructing him to prepare a memo

because she “need[ed] to address these concerns right away.” (Doc. 25-8 at 277).

Mr. Powell responded, “I have already responded. There will be no additional


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written responses. White employees don’t have to write responses so why do

African American men have to?” (Doc. 25-8 at 277). Ms. Bennett responded,

“[w]hat are you talking about? What has race got to do with this? Confidential

statements were compromised. We need to know what happened with the return of

the affidavits by the company. This is not about race. Whether black or white I

would be asking the same thing.” (Doc. 25-8 at 277). Ms. Bennett asked, “[w]hat

is the extent of exposure for our witnesses? Which ones were exposed?” (Doc.

25-8 at 277). Mr. Powell responded, “[t]hese statements would have been seen in

court anyway.” (Doc. 25-8 at 277).

      B.     The Inspector General Investigation

      The NLRB Inspector General, David Berry, investigated the incident and

interviewed Mr. Powell. During the interview, Mr. Powell told Mr. Berry that a

witness arrived to Mr. Powell’s hotel in Florence with a folder, was “definitely

anti-union,” “did not want to be there,” and was “[m]ore than hostile.” (Doc. 25-8

at 143). She arrived to the hotel with a man who was also “really hostile” and

“adamant on coming up to [Mr. Powell’s] room,” but the man did not go into Mr.

Powell’s room. (Id.). Mr. Powell interviewed the witness and took her affidavit in

his hotel room. He then briefly left the witness alone in his hotel room while he

used the bathroom. When Mr. Powell left to use the bathroom, the witness was

reviewing her affidavit on Mr. Powell’s computer. (Id. at 33–35, 143).


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      Further, during the interview, Mr. Powell asserted that Ms. Bennett must

have known about the affidavits on November 15, 2012, the day the Birmingham

office received the affidavits by mail, because the affidavits were date-stamped

received. According to Mr. Powell, the office mail policy required a clerk to date-

stamp all incoming mail and then give the mail to Ms. Bennett before distributing

the mail to the addressee. So, according to Mr. Powell, he had no reason to inform

Ms. Bennett of the affidavits because she must have already seen them. (Doc. 25-8

at 137–38).

      But Mr. Berry then learned from internal emails and interviews with Ms.

Bennet and another NLRB attorney that, in November 2012, the mail policy did

not require the clerk to provide all incoming mail to Ms. Bennett. At that time, the

clerk date-stamped the incoming mail and distributed it directly to the addressee.

Because of Mr. Powell’s conduct, the mail policy changed in March 2013, and

thereafter required the clerk to circulate mail through Ms. Bennett. Another NLRB

attorney told Mr. Berry that someone communicated the mail policy change at a

staff meeting in March 2013 that Mr. Powell attended. (Doc. 25-8 at 247–52).

      Mr. Berry issued his Report of Investigation on May 30, 2013. (Doc. 25-8).

In the Report, Mr. Berry concluded that reasonable cause existed to find that Mr.

Powell allowed the improper disclosure of confidential information by losing the

witness affidavits; failed to properly safeguard the Hillshire case file and report the


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loss of the affidavits; acted insubordinately when he refused to provide information

about the affidavits when Ms. Bennet asked him to do so; and provided false and

misleading information during his interview when he “attempt[ed] to shift the

focus of the OIG investigation to [Ms. Bennet]” by alleging that she received the

returned affidavits before he did. (Doc. 25-8 at 8–9).

      C.     The Proposal to Remove

      Relying on Mr. Berry’s Report of Investigation, the NLRB Assistant to the

General Counsel, Elizabeth Tursell, proposed removing Mr. Powell from his

position. (Doc. 25-6). Ms. Tursell brought four charges against Mr. Powell in the

Proposal to Remove: (1) failure to safeguard agency property; (2) negligent

performance of duties; (3) failure to follow supervisory instructions; and (4) lack

of candor during the Inspector General investigation.

      Ms. Tursell charged Mr. Powell with failure to safeguard agency property

because she found that he had no awareness at any given time of how many copies

of each affidavit were in the agency file; spread out affidavits throughout his hotel

room while working with witnesses; left a hostile witness alone in his hotel room;

and used the printer at the hotel’s business center instead of his own portable

printer. She concluded that somebody most likely took the affidavits from Mr.

Powell’s hotel room. (Doc. 25-6 at 3).

      Ms. Tursell charged Mr. Powell with negligent performance of duties


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because Mr. Powell was not aware of the missing affidavits until Hillshire’s

counsel emailed him and he did not inform his supervisor about the incident.

(Doc. 25-6 at 4–5).

      Ms. Tursell charged Mr. Powell with failure to follow supervisory

instructions because he refused to follow Ms. Bennett’s instructions to write a

memo detailing the circumstances of the lost affidavits and the agency’s exposure.

(Doc. 25-6 at 6).

      And Ms. Tursell charged Mr. Powell with lack of candor during the

investigation because he “deliberately distorted essential facts and circumstances

critical to the investigation” when he testified that Ms. Bennett must have seen the

affidavits in November 2012 under a mail policy that was not in effect until March

2013. (Doc. 25-6 at 8).

      D.     Mr. Powell’s Response to the Proposal to Remove

      Mr. Powell responded to the proposal to remove by written response on

August 23, 2013, and by oral reply on August 26, 2013. (Doc. 25-11).

      In his written response, Mr. Powell asserted that the Inspector General’s

Report of Investigation completely failed to establish any evidence of wrongdoing

because no one proved the actual origin of the affidavits. He asserted that

“[s]everal lawyers and a field examiner were reassigned the same case and the

incomplete affidavits in question could have been in any number of peoples [sic]


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possession, as well as having been taken from the unlocked office of Mr. Powell

while he was not there.” (Doc. 25-11 at 30–31). He contended also that the

affidavits could not have come from his hotel room because, as he told Mr. Berry

during his interview, Mr. Powell completed one of the affidavits, Randy Hadley’s

affidavit, before his trip to Florence and did not take the affidavit to Florence.

(Doc. 25-11 at 31).

      Mr. Powell also accused Mr. Berry of misrepresenting the record in his

Report of Investigation. According to Mr. Powell, he never “agreed” with Mr.

Berry’s statement that the affidavits had to be taken from Mr. Powell’s hotel

room—though Mr. Powell did respond “uh-huh” when Mr. Berry asked him, “the

most likely explanation is that it actually was someone in your room who secreted

away these documents from the material that was available in your room.” (Doc.

25-8 at 154; Doc. 25-11 at 41).

      Mr. Powell also disputed Mr. Berry’s finding that he did not timely inform

Ms. Bennett about the lost affidavits because he thought management must have

known about the affidavits because the envelope with the returned affidavits was

date-stamped. He denied that he attempted to hide the affidavits or deflect

attention to Ms. Bennett by telling Mr. Berry that Ms. Bennet must have seen the

affidavits, though Mr. Powell did not address Mr. Berry’s contention that Mr.

Powell’s version of the mail policy was not in effect until months after he received


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the affidavits. (Doc. 25-11 at 42).

      Mr. Powell also denied that he failed to follow Ms. Bennett’s instructions

because he explained to Ms. Bennet over the phone what happened with the

affidavits and informed Ms. Bennett that he would not prepare a written memo

because he was already preparing a “telephone affidavit” regarding the incident.

(Doc. 25-11 at 48).

      Also, in his written response, he made several allegations of retaliation and

discrimination based on disability, race, and sex. He alleged that Mr. Berry’s

Report of Investigation discriminated against Mr. Powell for having diabetes

because Mr. Powell did not bring the appropriate amount of medicine for his

diabetes to Florence, so Mr. Powell struggled with the demands of the

investigation. (Doc. 25-11 at 43–44).

      He alleged that Mr. Berry’s Report discriminated against him because he is

African-American and male because, according to Mr. Powell, the NLRB only

disciplined African-African men in Region 10 during his 16-year tenure with the

NLRB. (Doc. 25-11 at 36). He alleged that the NLRB did not discipline a white

female attorney in Region 10 who refused to forward a weekly case report to her

supervisor. He also alleged that the regional director had once instructed Mr.

Powell to write a report about why he could not finish a case sooner, but the

regional director did not give the same instructions to a white female attorney who


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took much longer to finish a case. And he alleged that two white attorneys lost

their building access cards, which supposedly led to a burglary of personal

property from Mr. Powell’s office, but the NLRB refused to investigate the

incident because of Mr. Powell’s race. (Doc. 25-11 at 50–51).

      And he alleged that Mr. Berry investigated him in retaliation for Mr. Powell

previously filing EEOC charges of discrimination against the NLRB. According to

Mr. Powell, Mr. Berry retaliated against him because the investigation took place

before the EEOC took any action on his charge of discrimination. (Doc. 25-11 at

42–43).

      In his oral reply, Mr. Powell reiterated his arguments that no credible

evidence supported Mr. Berry’s findings that he mishandled the affidavits, refused

his supervisor’s instructions, or lacked candor in the investigation, and he again

alleged that the NLRB discriminated against him on the basis of disability, race,

sex, and retaliation. (See Doc. 25-11 at 3–27).

      E.     The Agency Decision on the Proposal to Remove

      On September 24, 2012, the NLRB Associate General Counsel, Anne

Purcell, issued the agency’s decision on the proposal to remove Mr. Powell. (Doc.

25-10). Ms. Purcell determined that sufficient facts supported each of the four

charges against Mr. Powell and decided to remove him from the NLRB.

      In reaching her decision, and as further explained below, Ms. Purcell


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evaluated the factors established in Douglas v. Veterans Administration, 5

M.S.P.R. 280 (1981), that the MSPB required her to consider in determining an

appropriate penalty for an employee’s misconduct. She determined that Mr.

Powell committed serious offenses directly related to his duties as a field attorney

by losing the affidavits and not reporting the incident to a supervisor. She

considered how failing to keep witness statements confidential damaged the public

trust in the NLRB. She also found that Mr. Powell lacked any rehabilitative

potential because of his lack of remorse and candor. Though Ms. Purcell had

never evaluated offenses like Mr. Powell’s specific offenses, she determined that

the NLRB had previously terminated employees for similar offenses. And though

she considered that the NLRB had never disciplined Mr. Powell in 16 years, she

ultimately concluded that Mr. Powell created insurmountable trust issues regarding

his ability to perform his work duties.

       The NLRB terminated Mr. Powell on September 24, 2013. (Doc. 25-10 at

12).

       F.    The MSPB Appeal

       Mr. Powell timely appealed the NLRB’s decision to terminate him to the

MSPB. The MSPB heard testimony from Ms. Purcell, Ms. Bennett, Mr. Berry,

and Mr. Powell over the course of three days. (Docs. 25-22, 25-24, 25-25).

       Administrative Law Judge Sharon Pomerance issued the MSPB’s decision


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affirming the NLRB’s decision on August 19, 2015. In her decision, the ALJ

restated the undisputed facts regarding Mr. Powell’s activities in Florence, the

return of the affidavits to the NLRB office, Mr. Powell’s refusal to prepare a

written memo for Ms. Bennett, and the Inspector General investigation.

      The ALJ found that the NLRB proved all four charges against Mr. Powell by

a preponderance of the evidence. First, she found that the NLRB proved by a

preponderance of the evidence that Mr. Powell failed to safeguard agency property

because he left an anti-union witness alone in his hotel room while she reviewed

her affidavit; he laid out documents around his hotel room; he was not aware that

any affidavits were missing until he returned to the Birmingham office; Hillshire

received the affidavits; and, of the three lost affidavits, Mr. Powell interviewed two

of the witnesses in Florence and had previously wrote the third affidavit. From this

evidence, the ALJ concluded that, more likely than not, Mr. Powell’s failure to

safeguard the affidavits caused the disclosure of the affidavits to Hillshire. (Doc.

25-1 at 7–8).

      The ALJ then found that the NLRB proved by a preponderance of the

evidence that Mr. Powell negligently performed his duties by not notifying Ms.

Bennett that the affidavits had been compromised. The ALJ agreed that Mr.

Powell did not support his claim that Ms. Bennett saw the affidavits first because

the mail policy in November 2012 required mail to be opened, date-stamped, and


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delivered directly to the addressee. (Doc. 25-1 at 9–13).

      The ALJ then found that the NLRB proved by a preponderance of the

evidence that Mr. Powell failed to follow supervisory instructions because no

dispute existed that Mr. Powell refused to follow Ms. Bennett’s instruction to

prepare a written memo detailing the loss of the affidavits. The ALJ did not credit

any of Mr. Powell’s excuses for refusing direct reasonable instructions.

      The ALJ then found that the NLRB proved by a preponderance of the

evidence that Mr. Powell lacked candor during the Inspector General investigation

because he intentionally and falsely claimed that Ms. Bennett saw the affidavits via

the mail policy. The ALJ discredited Mr. Powell’s argument that the mail policy

in November 2012 required Ms. Bennett to review all incoming mail because Mr.

Harrell’s and Ms. Bennett’s MSPB hearing testimony, and the record evidence for

the NLRB Report of Investigation, established that the mail policy did not require

Ms. Bennett to review incoming mail until March 2013 because of Mr. Powell’s

failure to report the missing affidavits. (Doc. 25-1 at 14–16).

      The ALJ then found that Mr. Powell did not prove his affirmative defenses

of discrimination and retaliation by a preponderance of the evidence. The ALJ

found that Mr. Powell did not show discrimination because he did not identify any

similarly situated employees outside of his protected class that the NLRB treated

more favorably. And the ALJ found that Mr. Powell did not show retaliation


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because he failed to show a causal connection between his EEO complaint and his

termination. (Doc. 25-1 at 16–19).

      The ALJ also found that a nexus existed between the sustained charges

against Mr. Powell and the efficiency of the Federal service because Mr. Powell’s

failure to safeguard confidential witness affidavits, failure to report the incident to

his supervisor, failure to follow his supervisor’s instructions, and lack of candor

affected his job performance and his managers’ trust in his performance. (Doc. 25-

1 at 19–20).

      The ALJ then determined that the NLRB’s decision fell within the bounds of

reasonableness. The ALJ found that Ms. Purcell considered the relevant Douglas

factors and reasonably determined that, given the seriousness of Mr. Powell’s

offense, the breach of trust, the lack of rehabilitative potential, and inadequacy of a

lesser penalty, removal did not exceed the tolerable bounds of reasonableness.

(Doc. 25-1 at 20–21).

      The ALJ finally affirmed the NLRB’s decision because the agency proved

its charges, established a nexus between Mr. Powell’s removal and the efficiency

of the service, and established that removal did not exceed the tolerable bounds of

reasonableness. (Doc. 25-1 at 22).

      G.       The Present Action

      Mr. Powell filed a petition for review of the MSPB decision in the United


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States Court of Appeals for the Federal Circuit, and the Federal Circuit transferred

his case to this court. (Doc. 1). Mr. Powell then filed an amended complaint in

which he seeks review of the MSPB decision under 5 U.S.C. § 7703 and brings

discrimination claims under Title VII of the Civil Rights Act. (Doc. 8). Only the

administrative record review currently comes before the court.

      In his amended complaint, Mr. Powell asks the court to set aside the MSPB

decision affirming the NLRB decision to remove him because, according to Mr.

Powell, the NLRB failed to properly consider the Douglas factors when

determining an appropriate penalty for his alleged misconduct. (Doc. 8 at ¶ 42).

      The NLRB moved for summary judgment on Mr. Powell’s record review

claim. (Doc. 26). The NLRB contends that the MSPB decision withstands

deferential judicial review because, according to the NLRB, the MSPB considered

all relevant factors and reached a reasonable conclusion.

      Mr. Powell also moved for summary judgment on his record review claim.

(Doc. 29). In his motion for summary judgment, Mr. Powell contends that the

MSPB decision is arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law; obtained without procedures required by law, rule, or

regulation having been followed; or unsupported by substantial evidence. He also

contends that the MSPB erroneously affirmed the NLRB decision because the

agency did not properly consider the Douglas factors in deciding to terminate him.


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III.   ANALYSIS

       Mr. Powell’s motion for summary judgment constructs a maze of convoluted

allegations that requires the court to perform Mr. Powell’s crucial task—argue why

the MSPB decision fails 5 U.S.C. § 7703 judicial review—for him. His motion, in

many instances, fails to support his allegations with record citations, inaccurately

or falsely characterizes evidence, fails to acknowledge his burden of proof or relate

his arguments to any standard of review, makes an abundance of irrelevant

assertions, lacks logical organization or formatting, and seems to bring claims

never raised in his amended complaint or anywhere else in this case. Despite these

flaws, the court will, to the best of its ability, parse Mr. Powell’s motion to

determine why he believes he has met his burden to show that the MSPB

committed reversible error.

       A.    Substantial Evidence Supports the MSPB Decision

       The court begins with what it construes as Mr. Powell’s argument that

substantial evidence does not support the MSPB decision. Mr. Powell’s argument

fails because, at best, he only disagrees with the MSPB decision. He does not, as

his burden on judicial review of an administrative record requires him to do, show

that substantial evidence does not support the MSPB decision.

             1.     Charge one: failure to safeguard agency property

       Mr. Powell argues that no evidence supports the MSPB’s decision that the


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NLRB proved the failure to safeguard agency property charge by a preponderance

of the evidence because another field attorney, Shelly Skinner, worked in Florence

at the same time that Mr. Powell worked in Florence. So, according to Mr. Powell,

Ms. Skinner could have lost the affidavits. Further, he argues that the NLRB did

not definitively prove that the affidavits came from Mr. Powell’s hotel room. (See

Doc. 30 at 5, 7, 11–13, 21, 24–26).

      Though Ms. Skinner worked in Florence for a portion of the time that Mr.

Powell worked in Florence, no evidence connects Ms. Skinner to the lost

affidavits. According to Ms. Bennett’s MSPB hearing testimony, Ms. Skinner

traveled to Florence to take the affidavit of one witness who was not one of the

three witnesses whose affidavits were lost. Ms. Skinner could not reach that

witness in Florence and then returned to Birmingham before November 9, 2012.

(Doc. 25-24 at 13–15). These facts do not implicate Ms. Skinner or diminish the

evidence against Mr. Powell.

      And though the NLRB did not definitively prove that the lost affidavits came

from Mr. Powell’s hotel—the investigation found no eyewitness or the unknown

individual who delivered the affidavits to Hillshire—more than enough evidence

supports that the affidavits most likely came from Mr. Powell’s hotel room. Mr.

Powell interviewed two of the witnesses in Florence whose affidavits ended up at

Hillshire and he drafted the third affidavit; he laid out documents around his hotel


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room; and he left alone in his hotel room a hostile anti-union witness, who arrived

with a folder and a hostile man who wanted to come up to Mr. Powell’s room,

while she reviewed her affidavit. Based on this evidence, the MSPB appropriately

concluded that a preponderance of the evidence supported the NLRB’s conclusion

that Mr. Powell failed to safeguard agency property.

             2.    Charge two: negligent performance of duties

       Next, Mr. Powell argues that no evidence supports the MSPB’s decision

that the NLRB proved the negligent performance of duties charge by a

preponderance of the evidence. According to Mr. Powell, he did not have to

inform Ms. Bennett about the lost affidavits because (1) field attorneys had

discretion when to consult with their supervisors on cases; (2) Hillshire’s counsel

informed Mr. Powell via email that she did not review the affidavits; (3) Mr.

Powell advised Hillshire’s counsel of the consequences of reviewing the affidavits;

and (4) Ms. Bennett must have received the affidavits before he did because the

mail had a date stamp. (See Doc. 30 at 26).

      Despite Mr. Powell’s contentions, the MSPB reasonably concluded that

“given the seriousness of the incident, [Mr. Powell] had a duty to notify Ms.

Bennett that the affidavits had been compromised.” (Doc. 25-1 at 11). The MSPB

noted how Mr. Powell, as a seasoned attorney, should have known that losing the

confidential affidavits could compromise the NLRB’s position and put the affiants


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at risk for retaliation. And the MSPB considered it incredulous that Mr. Powell did

not think that losing the affidavits would impact the Hillshire case just because

Hillshire’s counsel assured him that she did not read the affidavits.

      Further, the MSPB reasonably concluded that the NLRB rightfully

discredited Mr. Powell’s version of the mail policy in effect in November 2012.

Ms. Bennett and Mr. Harrell both testified at the MSPB hearing that, in November

2012, the clerk stamped incoming mail and delivered it directly to the addressee.

This testimony comports with Ms. Bennett’s and another NLRB attorney’s

interviews with Mr. Berry, as well as internal emails discussing the change in the

mail policy. So, substantial evidence supports the MSPB’s determination that Mr.

Powell had no reason to believe that Ms. Bennett received the affidavits.

             3.    Charge three: failure to follow supervisory instructions

      Mr. Powell also argues that no evidence supports the MSPB’s decision that

the NLRB proved the failure to follow supervisory instructions charge by a

preponderance of the evidence. According to Mr. Powell, he did not refuse any

instructions because he answered all of Ms. Bennett’s questions about the

affidavits over the phone and by email. (Doc. 30 at 6, 10, 27).

      But Mr. Powell’s argument fails because no dispute exists that Mr. Powell

did not prepare a written memo as Ms. Bennet instructed, and no evidence

questions the reasonableness of Ms. Bennett’s instructions. So, substantial


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evidence supports the MSPB decision that the NLRB proved the failure to follow

supervisory instructions charge by a preponderance of the evidence.

            4.     Charge four: Lack of candor during the investigation

      Further, Mr. Powell argues that no evidence supports the MSPB’s decision

that the NLRB proved the lack of candor charge by a preponderance of the

evidence. According to Mr. Powell, he truthfully reported the mail policy to Mr.

Berry and thus did not lack candor during the investigation. (Doc. 30 at 6–7, 9,

27–28). But, as the court discussed above, the MSPB reasonably discredited Mr.

Powell’s version of the mail policy because the record contradicted it. So,

substantial evidence supports the MSPB’s conclusion that Mr. Powell displayed a

lack of candor by misleading Mr. Berry about the mail policy.

      Thus, Mr. Powell has failed to establish that substantial evidence does not

support the MSPB decision, so the court will not set aside the MSPB decision on

evidentiary grounds.

      B.    The MSPB Did Not Reach an Arbitrary and Capricious Decision

      Mr. Powell next contends that the MSPB reached an arbitrary and capricious

decision because, according to Mr. Powell, the MSPB could not reasonably

conclude that the NLRB considered all of the relevant Douglas factors. But the

NLRB did meaningfully evaluate all of the relevant Douglas factors; Mr. Powell

simply disagrees with the outcome.


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      An agency must consider all relevant mitigating and aggravating factors

when determining an appropriate penalty to discipline an employee. Douglas, 5

M.S.P.R. at 303. Considering these Douglas factors ensures that agencies

“exercise responsible judgment in each case, based on rather specific, individual

considerations, rather than acting automatically on the basis of generalizations

unrelated to the individual situation.” Id.

      These factors include, but are not limited to, the following:

      (1) The nature and seriousness of the offense, and its relation to the
      employee’s duties, position, and responsibilities, including whether
      the offense was intentional or technical or inadvertent, or was
      committed maliciously or for gain, or was frequently repeated;

      (2) the employee’s job level and type of employment, including
      supervisory or fiduciary role, contacts with the public, and
      prominence of the position;

      (3) the employee’s past disciplinary record;

      (4) the employee’s past work record, including length of service,
      performance on the job, ability to get along with fellow workers, and
      dependability;

      (5) the effect of the offense upon the employee’s ability to perform at
      a satisfactory level and its effect upon supervisors’ confidence in the
      employee's ability to perform assigned duties;

      (6) consistency of the penalty with those imposed upon other
      employees for the same or similar offenses;

      (7) consistency of the penalty with any applicable agency table of
      penalties;

      (8) the notoriety of the offense or its impact upon the reputation of the

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      agency;

      (9) the clarity with which the employee was on notice of any rules that
      where violated in committing the offense, or had been warned about
      the conduct in question;

      (10) potential for the employee’s rehabilitation;

      (11) mitigating circumstances surrounding the offense such as unusual
      job tensions, personality problems, mental impairment, harassment, or
      bad faith, malice or provocation on the part of others involved in the
      matter; and

       (12) the adequacy and effectiveness of alternative sanctions to deter
      such conduct in the future by the employee or others.

Douglas, 5 M.S.P.R. at 305–06. Because “[n]ot all of these factors will be

pertinent in every case, . . . [s]election of an appropriate penalty must [] involve a

responsible balancing of the relevant factors in the individual case.” Id. at 306.

      When reviewing an agency’s weighing of the Douglas factors, the MSPB

does not “insist that the balance be struck precisely where the Board would choose

to strike it if the Board were in the agency’s shoes” because “such an approach

would fail to accord proper deference to the agency’s primary discretion in

managing its workforce.” Douglas, 5 M.S.P.R. at 306. Rather, the MSPB ensures

that “the agency did conscientiously consider the relevant factors and did strike a

responsible balance within tolerable limits of reasonableness.” Id. The MSPB will

correct the agency’s decision “[o]nly if the Board finds that the agency failed to

weigh the relevant factors, or that the agency’s judgment clearly exceeded the


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limits of reasonableness.” Id.

      Here, as further explained below, the MSPB correctly found that the NLRB

deciding official, Ms. Purcell, meaningfully evaluated and balanced all of the

relevant Douglas factors.

             1.     The nature and seriousness of the offense

      Ms. Purcell found that Mr. Powell committed extremely serious offenses

directly related to his duties as a field attorney because they involved the loss of

confidential witness statements for a potential case against Hillshire and risked

compromising the case. She also considered how an Inspector General

investigation had to uncover the truth because Mr. Powell refused to report the

missing affidavits and provide Ms. Bennett with a written report of the

circumstances surrounding the lost affidavits.

             2.     Mr. Powell’s job level and type of employment

      Ms. Purcell considered that Mr. Powell worked for the NLRB as an attorney

for 16 years. She considered his work experience as a mitigating factor.

      But Ms. Purcell also considered the fact that Mr. Powell’s position works

directly with the public, and the public relies on him to take confidential statements

and keep them confidential. Ms. Purcell found that he violated that trust.

             3.     Mr. Powell’s past disciplinary record

      Ms. Purcell considered the fact that Mr. Powell had no prior record of any


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discipline to be a mitigating factor.

             4.      Mr. Powell’s past work record

      Ms. Purcell considered that Mr. Powell received a “Fully Successful” on his

last job evaluation, but she did not consider his work performance to be a

mitigating factor.

             5.      The effect of Mr. Powell’s offense on his ability to perform at a
                     satisfactory level and its effect upon his supervisors’ confidence
                     in him

      Ms. Purcell found that Mr. Powell’s offenses demonstrated that he could not

perform his position at a satisfactory level because he failed to safeguard

confidential affidavits as part of his duties as a field attorney. She also found that

his offenses diminished his supervisors’ confidence in his ability to work

independently and with little supervision.

             6.      Consistency of the penalty with those imposed upon other
                     employees for similar offenses; and

             7.      Consistency of the penalty with any applicable agency table of
                     penalties

      Ms. Purcell found that the agency had no table of penalties and found it

difficult to compare Mr. Powell’s penalty with any other penalties because she was

“unaware of any other situation where we have had a professional attorney fail to

safeguard affidavits, neglect to inform his supervisors/client of essential facts about

the loss of the affidavits, fail to follow supervisor instruction in this manner, and


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lack candor in an IG interview about the events.” (Doc. 25-10 at 10). But she

found that in other general cases of failure to safeguard agency property, neglect of

professional duties, failure to follow supervisory instructions, and lack of candor,

the NLRB had applied the penalty of removal from federal service.

             8.     The notoriety of Mr. Powell’s offense or its impact on the
                    NLRB’s reputation

      Ms. Purcell found that Mr. Powell committed a notorious offense that

affected the NLRB’s reputation; he violated the public’s trust in the NLRB to keep

witness statements confidential, an outside charged employer learned of Mr.

Powell’s breach of confidentiality because it received and presumably viewed the

affidavits, and others in the regional office became aware of Mr. Powell’s offense.

             9.     Mr. Powell’s notice of the rules he violated

      Ms. Purcell found that Mr. Powell, a 16-year veteran attorney, “had notice

that this type of conduct was unacceptable . . . via several mechanisms.”

Specifically, she referred to his position description, the rules of professional

conduct for attorneys, the NLRB Case Handling Manual that discusses the

importance of keeping witness affidavits confidential, and the promise he makes to

every witness to keep his or her statements confidential.

             10.    The potential for Mr. Powell’s rehabilitation

      Ms. Purcell considered Mr. Powell’s potential for rehabilitation to be “one of

the most important Douglas factors.” (Doc. 25-10 at 12). She concluded that Mr.

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Powell lacked potential for rehabilitation for several reasons.

      First, Ms. Purcell found it troubling that Mr. Powell refused to acknowledge

that he should have reported the incident to his supervisor and that it was important

for him to do so. She found that because he stated several times that the affidavits

would have come out at trial anyway, he did not understand why the situation

greatly concerned the NLRB.

      Second, Ms. Purcell found that Mr. Powell’s written and oral response to the

proposal to remove him from federal service indicated that he did not want to

address his conduct, accept responsibility, or change the way he approaches his

supervisors’ instructions.

      Third, Ms. Purcell found that Mr. Powell expressed no remorse for any

event. Ms. Purcell stated, “the fact remains that you take no responsibility for

these circumstances and are not sorry for anything you have done. You believe

you are a victim of others (your colleagues, your supervisors, the IG) and at no

time do you take responsibility for any event.” (Doc. 25-10 at 12).

             11.   Mitigating circumstances surrounding the offense

      Ms. Purcell acknowledged Mr. Powell’s explanation that he failed to bring

the appropriate medication for his diabetes to Florence and expressed sympathy

and concern for that stressful situation. But she found that Mr. Powell did not

explain how that played a role in the negligent handling of agency property or his


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lack of remorse. And she found that Mr. Powell admitted to mishandling

documents and leaving witnesses unattended as part of his “long-term process”

before he was diagnosed with diabetes in May 2012. (Doc. 25-10 at 11). So she

did not consider his insufficient diabetes medication to be a mitigating factor.

      Ms. Purcell also addressed Mr. Powell’s allegations of discrimination in his

response to the proposal to remove. Ms. Purcell found that he did not support his

allegation that the NLRB disciplines only African-American males in Region 10

because the NLRB never disciplined him in 16 years. And she found that he did

not support his claim of retaliation because Mr. Berry and Ms. Tursell had no role

in his EEO claims. So Ms. Purcell did not consider alleged discrimination to be a

mitigating factor.

             12.     Adequacy of lesser penalties

      Finally, Ms. Purcell found that demotion would not be an adequate penalty

because every attorney position required him to work with the public, work

independently, and report back to a supervisory chain. She found that suspension

would be inadequate because of Mr. Powell’s lack of remorse and belief that he did

nothing wrong. She found that any other penalty would be inadequate because

“the Region is left with insurmountable issues of trust with regard to your carrying

out of your duties and your judgment and concern for the public interest, and has

lost confidence in your ability to accurately report on case handling activities.”


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(Doc. 25-10 at 12).

      Given Ms. Purcell’s exceedingly thorough analysis of all of the relevant

mitigating and aggravating Douglas factors applied to the charges brought against

Mr. Powell, the court agrees with the MSPB that “the agency established that the

penalty of removal did not exceed the tolerable bounds of reasonableness.” (Doc.

25-1 at 21). The MSPB thus made an entirely reasonable decision in affirming the

NLRB’s removal of Mr. Powell. So Mr. Powell has failed to meet his burden to

show that the MSPB reached an arbitrary and capricious decision.

IV.   CONCLUSION

      Mr. Powell does not meaningfully challenge the evidence supporting his

removal or the reasonableness of the MSPB decision affirming his removal, so he

has failed to establish any grounds to set aside the MSPB decision.

      By separate order, the court will DENY Mr. Powell’s motion for summary

judgment and will GRANT the NLRB’s motion for summary judgment. The order

will dispose of Mr. Powell’s administrative record review claim, after which only

his discrimination claims will remain.

      DONE and ORDERED this 10th day of January, 2019.


                                         ____________________________________
                                         KARON OWEN BOWDRE
                                         CHIEF UNITED STATES DISTRICT JUDGE



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